Case 1:04-cv-00387-ACC            ECF No. 114, PageID.953            Filed 10/04/05       Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


SAINT-GOBAIN CORPORATION,

        Plaintiff,                                              Case No. 1:04-cv-387

v                                                               Hon. Wendell A. Miles

GEMTRON CORPORATION,

      Defendant.
______________________________/


                       ORDER CORRECTING TYPOGRAPHICAL ERROR


        On October 3, 2005, the court issued its Order on Claim Construction. It has come to the

court’s attention that the order contains a typographical error. Specifically, page 10 of the order,

lines 9 through 11, contains the following sentence:

        Mr. Miedema’s affidavit is directed to the issue of infringement – which is a
        question of law – and not to the issue of claim construction – which is an issue of
        fact.

However, this sentence should instead read as follows:

        Mr. Miedema’s affidavit is directed to the issue of infringement – which is a
        question of fact – and not to the issue of claim construction – which is an issue of
        law.

The court therefore orders correction of the Order on Claim Construction, deleting the former

sentence replacing it with insertion of the latter sentence.

        So ordered this 4th day of October, 2005.




                                                                /s/ Wendell A. Miles
                                                                Wendell A. Miles
                                                                Senior U.S. District Judge
